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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

DANIEL JON PETERKA

              Petitioner,

vs.                                                       CASE NO. 3:05cv22-SPM

JAMES CROSBY, JR.,

           Respondent.
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                 ORDER EXTENDING TIME TO FILE ANSWER

       For good cause shown, Respondent’s request for an extension of time

until June 6, 2005 to file an answer to the petition (doc. 15) is granted. All future

requests shall be in compliance with Northern District of Florida Local Rule

7.1(B).

       SO ORDERED this 10th day of May, 2005.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
